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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

Joseph Van Loon; Tyler Almeida;
Alexander Fisher; Preston Van Loon;
Kevin Vitale; and Nate Welch,
                                        Plaintiffs,

                          - against -                               No. 1:23-cv-312-RP

Department of the Treasury;
Office of Foreign Assets Control; Janet Yellen,
in her official capacity as Secretary of the Treasury; and
Andrea M. Gacki, in her official capacity as
Director of the Office of Foreign Assets Control,
                                        Defendants.




        PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT




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        Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs Joseph Van Loon, Tyler Al-

meida, Alexander Fisher, Preston Van Loon, Kevin Vitale, and Nate Welch respectfully move for

summary judgment on Counts 1 and 2 of their Amended Complaint, Dkt. 21, against Defendants

Department of the Treasury; Office of Foreign Assets Control (OFAC); Janet Yellen, in her official

capacity as Secretary of the Treasury; and Andrea Gacki, in her official capacity as Director of

OFAC.

                                        INTRODUCTION

        Plaintiffs are United States citizens who have been prohibited from using decentralized,

open-source software known as Tornado Cash. They are prohibited from using it because the

Department of the Treasury has added the software to the Specially Designated Nationals and

Blocked Persons (SDN) List. That designation is unprecedented. Because it exceeds the Depart-

ment’s statutory authority over foreign nationals’ interests in property and violates the Free Speech

Clause of the First Amendment to the United States Constitution, it should be held unlawful and

set aside under the Administrative Procedure Act (APA).

        Plaintiffs regularly transact crypto assets on the Ethereum blockchain. The blockchain is

a public ledger of transactions that is maintained on a decentralized network of computers. Be-

cause the blockchain publicly records all transactions, it permits users to send and receive assets

from their virtual wallets without the intervention of a third party, such as a bank. But with that

feature comes the drawback that any person can easily trace another person’s transactions.

        The Tornado Cash privacy protocol affords Ethereum users an increased degree of privacy.

It does so through a series of ownerless, immutable “smart contracts,” which are open-source soft-

ware applications that cannot be altered or removed from the blockchain and that function auto-

matically without human control. Users deposit assets in a Tornado Cash smart contract and re-

ceive a secret “key.” That key can later be used to withdraw an equivalent amount of the same


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asset into a different wallet, thereby making it more difficult to connect spending from the second

wallet with the owner of the first wallet.

       This case involves two statutes. Under the International Emergency Economic Powers Act

(IEEPA), the Department may take certain actions with respect to “any property in which any

foreign country or a national thereof has any interest.” 50 U.S.C. § 1702(a)(1)(B) (emphases

added). Under the North Korea Sanctions and Policy Enhancement Act of 2016 (hereafter the

“North Korea Act”), the Department has the power to “block and prohibit all transactions in prop-

erty and interests in property of a person designated” for engaging in certain activities involving

North Korea. 22 U.S.C. § 9214(c)(1) (emphases added); see also 22 U.S.C. § 9214(c)(2).

       The Department added a Tornado Cash “person” to the SDN List on August 8, 2022 (and

revised that designation on November 8, 2022). As part of the designation, the Department listed

several dozen Ethereum addresses, including the immutable smart contracts, as “identifiers” of the

purported Tornado Cash person. By adding Tornado Cash to the SDN List, the Department has

prohibited any person in the United States from sending funds to, or receiving funds from, the

ownerless, immutable smart contracts.

       The designation should be held unlawful and set aside under the APA for four independent

reasons. First, the Department has not validly designated a foreign “national” under IEEPA or a

“person” under the North Korea Act. The Department purported to designate an “entity” consist-

ing of certain named Tornado Cash founders; associated Tornado Cash developers; and anyone

who holds a digital asset called TORN. There is no such formal entity anywhere in the world, and

the administrative record does not establish that this disparate group of people has formed an un-

incorporated association by manifesting agreement to cooperate in furtherance of a common pur-




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pose. What is more, the Department simultaneously issued guidance explaining that it was ex-

pressly not designating the Tornado Cash founders, the Tornado Cash developers, or the TORN

holders—a position that is irreconcilable with its reliance on those same people to define an “en-

tity.”

         Second, the Department has exceeded its statutory authority to regulate “property.” At

least 20 addresses in the designation are ownerless, immutable smart contracts—open-source soft-

ware that is no longer capable of being altered, removed, or controlled by anyone. Because no one

can “own” those immutable smart contracts, they are not “property.”

         Third, the Department has exceeded its statutory authority to prohibit transactions involv-

ing an “interest” in property. Under a plain reading of the statutes, an interest in property is some

form of legal, equitable, or beneficial claim to it. The Department does not cite any evidence that

the Tornado Cash person has any such claim to the immutable smart contracts. Instead, it asserts

that the Tornado Cash person has an interest in those smart contracts because it “regarded” them

as “having value” and “derived value” from them, A.R. 60, but those are not legal, equitable, or

beneficial claims to property.

         Fourth, even if the designation were within the Department’s statutory authority, it would

still violate the Free Speech Clause of the First Amendment. The designation is not narrowly

tailored, and even if it were, it is facially overbroad.

         For all of those reasons, summary judgment in favor of Plaintiffs is warranted on Counts 1

and 2 of the Amended Complaint, and the designation should be held unlawful and set aside under

the APA.




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                                 STATEMENT OF THE CASE

       A.       Background

       1.       Ethereum is a public blockchain—a cooperative network that builds and maintains

a transparent, distributed ledger. A.R. 816-817. After downloading an application called a wallet,

which generates addresses for the user and a private key that functions as a password, Ethereum

users can send and receive the cryptocurrency Ether (ETH), digital tokens, and other crypto assets

without the involvement of any intermediary. A.R. 22, 546.

       The public nature of that ledger is an essential feature of the blockchain. At its most basic,

a blockchain is a list of transactions that anyone can view and verify. A.R. 77, 819. The blockchain

creates an irreversible audit trail, allowing users to confirm transactions and permanently record

the transfer of assets. A.R. 21-22. That transparency enables secure payments to be made without

a trusted third party, such as a bank. But that transparency also compromises individual privacy

because a user’s complete financial history can be identified when the accounts involved in a

transaction are linked to the user’s identity. A.R. 825-826.

       For example, if a user sends funds to a third-party vendor, that vendor could immediately

view the user’s prior transactions on the public blockchain, obtaining sensitive information about

the user’s crypto asset holdings, his potential net worth, and his past purchases. Similarly, a hacker

or malicious actor could identify a user with substantial crypto assets and target him in a phishing

campaign or home break-in. A hacker or malicious actor might also reveal sensitive information

related to a user’s political donations, business investments, or other personal transactions.

       In addition to permitting users to send and receive crypto assets, the Ethereum blockchain

also stores “smart contracts.” A.R. 547, 818. Smart contracts are open-source software programs,

which may be coded by anyone to perform a specific task when predetermined conditions are met.

Id. Once a smart contract is deployed on the blockchain, it is assigned a public address with which


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any user can interact. A.R. 547, 818. Those software programs operate like a vending machine;

when an individual user sends a command to a smart contract, the smart contract automatically

carries out a particular, predetermined task without additional human intervention. A.R. 818. By

default, smart contracts are immutable—that is, they cannot be altered or controlled once they are

uploaded to the blockchain. A.R. 548.

       2.      Tornado Cash is a decentralized, open-source software project made up of a subset

of the smart contracts on the Ethereum blockchain. The most important feature of Tornado Cash

is its “pool” contracts, which are immutable and allow users to deposit crypto assets from one

wallet and later withdraw the same amount into another wallet. A.R. 550-551. Both the deposit

and withdrawal through Tornado Cash are visible on Ethereum’s ledger. But the ledger does not

reflect that the deposit and the withdrawal are linked to the same user because they involve differ-

ent wallets. Id. The severing of that link means that an individual can make a withdrawal—and

spend the assets—without exposing his financial history to third parties. A.R. 552-553. For that

reason, the Tornado Cash protocol served a critical role for thousands of lawful users. A.R. 549.

       Tornado Cash’s immutable smart contracts rely on “zero-knowledge proofs.” A.R. 34

n.41, 53; see also A.R. 552-556. A zero-knowledge proof permits one party (known as the prover)

to demonstrate to another party (known as the verifier) that a given statement is true without re-

vealing the statement itself. A.R. 553. To withdraw crypto assets from the immutable smart con-

tracts, the user must input a zero-knowledge proof generated from information obtained when the

user deposited the assets. Id. The immutable smart contract’s code automatically checks the proof

and processes the withdrawal if the proof is valid. Id. Assets can thus be withdrawn without

human intervention. A.R. 553-556.




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       Users of Tornado Cash maintain ownership of their funds throughout the entire process

because they retain “sole control of [their] private keys, which in turn control [the] cryptocurrency

and prove the funds are [theirs].” A.R. 28 n.21. Tornado Cash immutable smart contracts have

no custodial operator. A.R. 552. In short, no individual or entity gains custody or ownership of

the crypto assets deposited and withdrawn through the Tornado Cash privacy protocol. A.R. 560.

       3.      The creation of Tornado Cash was spearheaded by a handful of developers who

initially retained the ability to update the source code. A.R. 16. Additional smart contracts were

uploaded to the blockchain over the years by different contributors. A.R. 549.

       In 2020, the developers who initially envisioned the Tornado Cash software project an-

nounced that they would hold a “trusted setup ceremony,” which is a decentralized process to make

the smart contracts immutable. A.R. 356-357. The purpose of a trusted setup ceremony is to

generate trustworthy cryptographic keys for the Tornado Cash privacy protocol. Id. The Tornado

Cash trusted setup ceremony, completed in May 2020, created “prover and verifier keys” that were

uploaded to the blockchain. A.R. 356. After those keys were uploaded, the smart contracts that

form the backbone of the privacy protocol became perpetually self-executing and immutable; they

cannot be altered, removed, or controlled, and no human intervention is required for them to con-

tinue operating. A.R. 61, 357, 538, 548, 951.

       4.      In June 2021, the original developers of Tornado Cash announced the creation of a

decentralized organization (DAO). A.R. 718. Around the same time, those developers created a

new crypto token called TORN, which can be transferred and sold on the blockchain like any other

Ethereum-based token. A.R. 41. Early users of Tornado Cash received a voucher that they could

redeem for TORN, and more TORN has been distributed over time. A.R. 125. Any person who

owns TORN is entitled—though not obligated—to vote on a limited range of DAO governance




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issues. Id. In addition to having that potential role in DAO governance, “TORN has been identi-

fied as an investment opportunity by multiple sources.” A.R. 38.

       The DAO has never had the power to modify or control the immutable smart contracts at

the core of the Tornado Cash software. A.R. 951. To the contrary, those core smart contracts were

immutable by the time the DAO was created. A.R. 957. The DAO could only develop new pro-

jects and interact with certain optional features of the Tornado Cash protocol. A.R. 16, 35, 953.

Even if a glitch or failure were discovered, no one would be able to alter the immutable smart

contract and fix the code.

       One such optional feature is the registry of “relayers.” Relayers are operated by third par-

ties, and they provide an optional, privacy-enhancing service for a fee. A.R. 57. Any transaction

on the Ethereum blockchain requires payment of a “gas fee” that is earned by the operators of the

Ethereum network. A.R. 23. When a user withdraws his assets from Tornado Cash without a

relayer, he must have enough assets in the recipient wallet to pay that “gas fee” to the Ethereum

network. A.R. 57. A relayer thus “allows users to process withdrawals without needing to pre-

fund their withdrawal accounts.” Id. The Tornado Cash DAO maintains a registry of relayers for

users’ convenience. A.R. 32. Relayers pay a fee to the DAO—which is separate from the gas

fee—for every transaction they process while listed on the registry. Id. Because the use of relayers

is optional, numerous transactions are processed by the Tornado Cash immutable smart contracts

without the involvement of a relayer. A.R. 57.

       5.      Plaintiffs are among the thousands of Americans who used the Tornado Cash pri-

vacy protocol for lawful purposes. Although Plaintiffs are aware of other crypto privacy tools,

they prefer Tornado Cash because it has the highest volume of users and transactions, which pro-

motes greater anonymity. See Declaration of Joseph Van Loon, Ex. A (“J. Van Loon Decl.”);




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Declaration of Tyler Almeida, Ex. B (“Almeida Decl.”); Declaration of Alexander Fisher, Ex. C

(“Fisher Decl.”); Declaration of Preston Van Loon, Ex. D (“P. Van Loon Decl.”); Declaration of

Kevin Vitale, Ex. E (“Vitale Decl.”); Declaration of Nate Welch, Ex. F (“Welch Decl.”).

       Plaintiffs wish to use Tornado Cash for business or personal transactions without linking

the transactions to their publicly known wallet addresses. For instance, Plaintiff Joseph Van Loon

planned to run a blockchain service called a node in his own home, but was concerned that doing

so could make him a target of physical or virtual attacks by malicious actors. J. Van Loon Decl.

¶ 15. Mr. Van Loon abandoned his plan because the Department imposed sanctions on his pre-

ferred privacy tool. Id. ¶ 16; see also Fisher Decl. ¶¶ 16-17.

       Plaintiff Kevin Vitale similarly used Tornado Cash to reduce the risk that malicious actors

might connect his online activities with his physical address and do harm to his family or property.

Vitale Decl. ¶ 13. His concerns are not speculative; in 2021, a contractor working in the vicinity

realized that he was engaging in the staking of Ether and asked how much money he had made.

Id.

       Other plaintiffs have used Tornado Cash to engage in political speech. For example, Plain-

tiff Tyler Almeida decided to donate funds to the Ukrainian government’s publicly posted crypto

wallet address in March 2022, following Russia’s invasion. Almeida Decl. ¶¶ 14-15. To avoid

reprisals from Russian state-sponsored hacking groups, Mr. Almeida sent funds to a Tornado Cash

immutable smart contract and used a portion of those assets to make his donation. Id. ¶ 16.

       Several Plaintiffs currently have funds trapped in the Tornado Cash smart contracts. For

instance, Plaintiff Preston Van Loon has 1.3 ETH (approximately $2,000) trapped in Tornado

Cash. Because of the designations, Plaintiffs have been prevented from freely withdrawing funds




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they deposited in Tornado Cash, have been deprived of their preferred privacy protocol, and have

been chilled from engaging in speech protected by the First Amendment.

       B.      Procedural History

       1.      On August 8, 2022, the Department took the unprecedented step of imposing sanc-

tions on open-source software by adding the Tornado Cash privacy protocol to the SDN List. The

designation was made under Executive Order 13,694, as amended, which relates to cybersecurity.

See A.R. 2200-2203.

       On September 8, 2022, Plaintiffs filed this action to challenge the designation of Tornado

Cash on the ground that it exceeds the Department’s statutory authority and was not in accordance

with law. Dkt. 1; see 5 U.S.C. § 706(2)(A), (C). Plaintiffs also alleged that the Department’s

designation violates the Free Speech Clause of the First Amendment and the Due Process Clause

of the Fifth Amendment to the United States Constitution. See 5 U.S.C. § 706(2)(B). Plaintiffs

requested declaratory and injunctive relief under the APA, 5 U.S.C. §§ 500 et seq.

       2.      On November 8, 2022, three months after the original designation and less than a

week before the deadline for a responsive pleading, the Department “delisted and simultaneously

redesignated Tornado Cash.” A.R. 9. In addition to the executive order relating to cyber activities,

the Department now invoked Executive Order 13,722, which relates to North Korea. A.R. 7. In

the new designation, the Department added 53 Ethereum addresses, removed one obsolete

Ethereum address, and removed several Ethereum addresses that were listed more than once in the

original designation. A.R. 1-4.

       The Department once again asserted that “Tornado Cash” is “an entity that provides cryp-

tocurrency mixing services through Tornado Cash and related smart contracts.” A.R. 16. For the

first time, the Department identified two parts to the purported organizational structure of Tornado

Cash. The first is “its founders—Alexey Pertsev, Roman Semenov, and Roman Storm—and other


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associated developers, who together launched the Tornado Cash mixing service, developed new

Tornado Cash mixing service features, created the Tornado Cash Decentralized Autonomous Or-

ganization (DAO), and actively promote the platform’s popularity in an attempt to increase its user

base.” A.R. 1. The second is “the Tornado Cash DAO, which is responsible for voting on and

implementing those new features created by the developers.” Id. Membership in the DAO is

defined as anyone who holds a TORN token. A.R. 35. In guidance simultaneously posted with

the redesignation, the Department explained that the designation of “Tornado Cash” does not in-

clude “Tornado Cash’s individual founders, developers, members of the DAO, or users, or other

persons involved in supporting Tornado Cash.” OFAC, Frequently Asked Questions (Nov. 8,

2022) <tinyurl.com/OFAC-FAQ-1095> (FAQ 1095).

       All but one of the Ethereum addresses listed by the Department as an “identifier” of Tor-

nado Cash is a smart contract. A.R. 43-49. At least 20 of the smart contracts are immutable

Tornado Cash pools that, at the time of designation, permitted users to engage in transactions in

set increments of various cryptocurrencies. A.R. 563, 566. Those immutable smart contracts form

the backbone of Tornado Cash, and they consist of open-source code that cannot be modified,

deleted, or otherwise controlled by any person or country. A.R. 357, 538, 548. Twelve other

addresses in the designation are smart contracts that apparently are obsolete, were rarely used, or

were never used. A.R. 568-574. The remaining addresses in the designation perform optional

tasks, including facilitating the use of relayers and the distribution of TORN tokens. A.R. 46-49.

       In issuing the designation, the Department invoked authority under IEEPA and the North

Korea Act. Under the relevant sections of those statutes, the Department’s power is limited to the

regulation of “property” in which a foreign “national” or “person” has an “interest.” 50 U.S.C.

§ 1702(a)(1)(B); 22 U.S.C. § 9214(c)(1). Under IEEPA, the Executive Branch may “investigate,




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block during the pendency of an investigation, regulate, direct and compel, nullify, void, prevent

or prohibit, any acquisition, holding, withholding, use, transfer, withdrawal, transportation, impor-

tation or exportation of, or dealing in, or exercising any right, power, or privilege with respect to,

or transactions involving, any property in which any foreign country or a national thereof has any

interest by any person, or with respect to any property, subject to the jurisdiction of the United

States.” 50 U.S.C. § 1702(a)(1) (emphasis added). Under the North Korea Act, the Executive

Branch has the authority to designate “any person” engaged in certain enumerated conduct relating

to North Korea and then “block and prohibit all transactions in property and interests in property

of a person” so designated. 22 U.S.C. § 9214(a), (c) (emphasis added).

       The Department has promulgated regulations defining “person,” “property,” and “interest.”

The regulations define “person” to mean “an individual or entity,” 31 C.F.R. §§ 510.322, 578.322,

and they define an “entity” as “a partnership, association, trust, joint venture, corporation, group,

subgroup, or other organization,” 31 C.F.R. §§ 510.305, 578.305. The regulations further define

“property and property interest” as follows:

       money, checks, drafts, bullion, bank deposits, savings accounts, debts, indebted-
       ness, obligations, notes, guarantees, debentures, stocks, bonds, coupons, any other
       financial instruments, bankers acceptances, mortgages, pledges, liens or other
       rights in the nature of security, warehouse receipts, bills of lading, trust receipts,
       bills of sale, any other evidences of title, ownership, or indebtedness, letters of
       credit and any documents relating to any rights or obligations thereunder, powers
       of attorney, goods, wares, merchandise, chattels, stocks on hand, ships, goods on
       ships, real estate mortgages, deeds of trust, vendors’ sales agreements, land con-
       tracts, leaseholds, ground rents, real estate and any other interest therein, options,
       negotiable instruments, trade acceptances, royalties, book accounts, accounts pay-
       able, judgments, patents, trademarks or copyrights, insurance policies, safe deposit
       boxes and their contents, annuities, pooling agreements, services of any nature
       whatsoever, contracts of any nature whatsoever, and any other property, real, per-
       sonal, or mixed, tangible or intangible, or interest or interests therein, present, fu-
       ture, or contingent.

31 C.F.R. §§ 510.323, 578.314. The regulations define an “interest” as “an interest of any nature

whatsoever, direct or indirect.” 31 C.F.R. §§ 510.313, 578.309.


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       4.      On November 22, 2022, Plaintiffs amended their complaint in response to the De-

partment’s redesignation. Dkt. 21. The Department filed an answer on December 9, 2022. Dkt.

25. The Department also moved to transfer the case to the Austin Division, and Judge Albright

granted the Department’s motion on March 20, 2023. Dkt. 35. This motion for summary judgment

followed.

                                       LEGAL STANDARD

       “Summary judgment is required when the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Trent v. Wade,

776 F.3d 368, 376 (5th Cir. 2015) (internal quotation marks and citation omitted). Under the APA,

agency action must be “h[e]ld unlawful and set aside” if it is “not in accordance with law”; “con-

trary to constitutional right, power, privilege, or immunity”; or “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A)-(C). A court’s review

is limited to “the grounds that the agency invoked when it took the action.” Department of Home-

land Security v. Regents of the University of California, 140 S. Ct. 1891, 1907 (2020) (internal

quotation marks and citation omitted).

                                           ARGUMENT

I.     THE DESIGNATION OF TORNADO CASH IS CONTRARY TO LAW AND EX-
       CEEDS THE DEPARTMENT’S STATUTORY AUTHORITY

       Under IEEPA, the Department may take action only with respect to “property in which any

foreign country or a national thereof has any interest.” 50 U.S.C. § 1702(a)(1)(B) (emphases

added). Under the North Korea Act, the Department may take action with respect to the “property

and interests in property” of “any person” who knowingly engages in certain enumerated conduct.

22 U.S.C. § 9214(c). The Department’s authority is thus limited to prohibiting transactions in-

volving “property” in which a foreign “national” or “person” has an “interest.”



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       The Department’s designation exceeds that statutory authority for three reasons. First,

Tornado Cash is not a foreign “national” or “person.” Although the power to designate nationals

and persons includes the power to designate entities, the Department has not established that the

most basic requirement for an unincorporated entity—an agreement to cooperate in furtherance of

a common purpose—exists here. And even if it had, the Department has not actually designated

an entity because it purported to exclude from the scope of its sanctions every single member of

the purported entity. Second, more than 20 of the smart contracts are not “property.” Those con-

tracts are not property because they are immutable and therefore incapable of being owned by

anyone. Third, the Department’s designation exceeds its statutory authority because no foreign

national or sanctioned person has any “interest” in property in the immutable smart contracts.

       In each of the foregoing respects, the Department’s designation dramatically exceeds the

powers given to the Executive Branch by Congress. The designation should thus be held unlawful

and set aside.

       A.        Tornado Cash Is Not A Foreign ‘National’ Or A ‘Person’

       1.        The words “national” in IEEPA and “person” in the North Korea Act should be

“interpret[ed] . . . according to their plain meanings” and “ordinary usage.” Connecticut Bank

of Commerce v. Republic of Congo, 309 F.3d 240, 260 (5th Cir. 2002). A “national” refers to a

person who resides in a particular country. See, e.g., American Heritage Dictionary 874 (1st ed.

1969). A “person” is a “human”—that is, a natural person—or a “corporation, organization, part-

nership, association, or other entity deemed or construed to be governed by a particular law.”

American Heritage Dictionary 1317 (5th ed. 2016). The Department has further defined “person”




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to mean an “individual or entity,” 31 C.F.R. §§ 510.322, 578.313, and “entity” to mean “a part-

nership, association, trust, joint venture, corporation, group, subgroup, or other organization,” 31

C.F.R. §§ 510.305, 578.305.

       The administrative record contains no suggestion that there is a formally incorporated en-

tity known as Tornado Cash anywhere in the world. Instead, the Department relies on the theory

that the founders, developers, and the Tornado Cash DAO—defined as anyone holding a TORN

token—have formed some kind of unincorporated association. See A.R. 20, 23, 32. They have

not.

       Collections of people do not become a legal “person” (or foreign “national”) simply be-

cause they have something in common or because someone places them on a list. Status as an

unincorporated entity is instead defined by an agreement to pursue a common purpose. For exam-

ple, the Supreme Court has explained that an association-in-fact under the Racketeer Influenced

and Corrupt Organizations Act is “a group of persons associated together for a common purpose

of engaging in a course of conduct.” Boyle v. United States, 556 U.S. 938, 944 (2009) (citation

omitted). Other courts have recognized that an unincorporated association is defined as “a volun-

tary group of persons . . . formed by mutual consent for the purpose of promoting a common

objective.” Southern California Darts Association v. Zaffina, 762 F.3d 921, 927 (9th Cir. 2014)

(internal quotation marks and citation omitted); see also Karl Rove & Co. v. Thornburgh, 39 F.3d

1273, 1289 (5th Cir. 1994); Heinold Hedge Hog Market, Inc. v. McCoy, 700 F.2d 611, 615 (10th

Cir. 1983).

       The Department’s definition of the purported Tornado Cash “entity” fails to satisfy that

requirement. The Tornado Cash DAO, which is listed as part of the sanctioned entity, is broadly

defined to include anyone who owns one of the 1.5 million outstanding TORN tokens, whether or




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not they have manifested any agreement to a common purpose. See A.R. 23, 333. TORN tokens

are freely transferrable on the Ethereum blockchain, and a person could hold TORN without ever

using the Tornado Cash protocol, contributing to its development, or agreeing to join the DAO.

For example, a person might have purchased TORN on the secondary market as an investment,

see A.R. 35-38, or received it as an unsolicited “airdrop” from a stranger on the Internet, see A.R.

227; OFAC, Frequently Asked Questions (Nov. 8, 2022) <tinyurl.com/OFAC-FAQ-1078> (FAQ

1078). The Department’s broad definition includes anyone who holds TORN, regardless of why

they hold it or whether they have manifested an agreement to advance a common purpose of the

supposed Tornado Cash “entity”—the essential requirement for establishing an entity.

       The Department seems to rely on the fact that TORN tokens conferred the right to vote in

certain online forums. A.R. 16, 24. But the Department has defined the purported Tornado Cash

entity to include even TORN holders who never used their TORN to vote on a governance proposal

or even intended to use their TORN for that purpose. See A.R. 23-24, 38. Mere possession of a

digital ballot does not create agreement to further a common purpose. If the Taylor Swift Fan

Club decided to choose its next president by e-mailing electronic ballots to millions of Americans,

merely possessing that e-mail would not make someone a member of the fan club. Like mere

possession of that e-mail, mere possession of TORN does not show agreement to pursue a common

purpose.

       2.      The Department failed to identify a “national” or “person” for another reason as

well. In guidance posted simultaneously with the designation, the Department explained that it

did not designate “Tornado Cash’s individual founders, developers, members of the DAO, or us-

ers, or other persons involved in supporting Tornado Cash.” FAQ 1095. In other words, the De-

partment did not designate any of the individuals who supposedly manifested an agreement to




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pursue a common purpose. It is incoherent to designate a group of people while taking the un-

precedented step of explicitly excising the people who supposedly constitute that group.

       The Department did not cite any previous designation of an unincorporated association

defined to exclude all of its supposed members. Nor are Plaintiffs aware of any. That apparently

novel maneuver contradicts the very definition of an unincorporated association, which at mini-

mum must be a “group of persons . . . formed by mutual consent for the purpose of promoting

a common objective.” Southern California Darts Association, 762 F.3d at 927 (internal quotation

marks and citation omitted). Without the founders, developers, and TORN holders, there is no one

left in the Department’s own definition of the purported Tornado Cash “entity.” All that the De-

partment will have accomplished is prohibiting the use of open-source, immutable software, which

cannot be what Congress meant when it gave the Executive Branch power to impose sanctions on

“nationals” and “persons.” Because the Department thus exceeded its authority under IEEPA and

the North Korea Act, Plaintiffs are entitled to summary judgment on Count 1.

       B.      The Immutable Smart Contracts Are Not ‘Property’

       Even if the Department had properly designated a “national” or “person,” it would still

have exceeded its statutory authority by listing immutable smart contracts as “identifiers” of that

national or person. The Department has prohibited any person subject to United States jurisdiction

from sending crypto assets to the immutable smart contracts or receiving crypto assets from them.

A.R. 1-4. Because an immutable smart contract is incapable of being owned, it is not property and

the Department lacks authority under IEEPA and the North Korea Act to prohibit transactions with

those smart contracts.

       Neither IEEPA nor the North Korea Act defines the word “property,” and the applicable

regulations circularly define property to include “any . . . property.” 31 C.F.R. §§ 510.323,




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578.314. Dictionaries supply more specificity, defining property to include “everything which is

or may be the subject of ownership, whether a legal ownership, or whether beneficial, or a private

ownership.” Black’s Law Dictionary 1095 (5th ed. 1979). The Supreme Court has likewise ex-

plained that “property” refers to “all objects or rights which are susceptible of ownership.” Meyer

v. United States, 364 U.S. 410, 413 n.3 (1960). Indeed, every example of property given by the

Department in its regulation listing examples of property is something that is capable of being

owned or confers the powers of ownership.*

        Immutable smart contracts—which are open-source software code on the Ethereum block-

chain—are not property because they are not capable of being owned by anyone. No one has the

right to alter them. See A.R. 61, 357, 538, 548, 951. No one has the right to delete them. See id.

And no one has the right to exclude another person from using them, which is “one of the most

essential sticks in the bundle of rights that are commonly characterized as property.” Dolan v.

City of Tigard, 512 U.S. 374, 384 (1994) (internal quotation marks and citation omitted). Those

smart contracts are permanently accessible—even while the sanctions are in place—to anyone who

wishes to use them. Because immutable smart contracts plainly do not fall under the definition of

“property,” they cannot be designated.




    *
      That list includes “money, checks, drafts, bullion, bank deposits, savings accounts, debts,
indebtedness, obligations, notes, guarantees, debentures, stocks, bonds, coupons, any other finan-
cial instruments, bankers acceptances, mortgages, pledges, liens or other rights in the nature of
security, warehouse receipts, bills of lading, trust receipts, bills of sale, any other evidences of title,
ownership, or indebtedness, letters of credit and any documents relating to any rights or obligations
thereunder, powers of attorney, goods, wares, merchandise, chattels, stocks on hand, ships, goods
on ships, real estate mortgages, deeds of trust, vendors’ sales agreements, land contracts, lease-
holds, ground rents, real estate and any other interest therein, options, negotiable instruments, trade
acceptances, royalties, book accounts, accounts payable, judgments, patents, trademarks or copy-
rights, insurance policies, safe deposit boxes and their contents, annuities, pooling agreements,
services of any nature whatsoever, [and] contracts of any nature whatsoever.” 31 C.F.R.
§§ 510.323, 578.314.


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       IEEPA and the North Korea Act grant broad powers to the Department, but those powers

are limited to blocking “property.” If abstract and ownerless software code can be designated, it

is hard to see why other intangible concepts could not be forbidden as well. A particular physics

equation, a public-domain image, or any idea or public good would all be fair game. Congress did

not intend for the Department to have that nearly limitless power. As with the Department’s at-

tempt to remove all limits on the meaning of “national” and “person,” this Court should reject the

Department’s bid to redefine “property.” See pp. 13-14, supra.

       Finally on this point, the Department may not sidestep the question whether the immutable

smart contracts are “property” by labeling them “identifiers.” A.R. 1. The Department has statu-

tory authority to prohibit transactions involving property of foreign nationals and persons, not

“identifiers.” See pp. 12-13, supra. Some identifiers listed by the Department in other designa-

tions, such as “the physical address of a real estate property that is owned by a blocked person,”

A.R. 60 n.122, may be subject to prohibitions because they identify sanctionable property. But

identifiers are not subject to prohibitions if they simply “assist the public in identifying” a blocked

person. A.R. 18. The blanket assertion that the immutable smart contracts are “identifiers” of

Tornado Cash is thus insufficient. Because the immutable smart contracts are not “property,”

Plaintiffs are entitled to summary judgment on Count 1 on this ground as well.

       C.      The Purported Tornado Cash Person Does Not Have An ‘Interest’ In Property
               In The Immutable Smart Contracts

       The Department’s action is also contrary to law because the purported Tornado Cash per-

son has no “interest” in property in the immutable smart contracts. IEEPA limits the Department’s

power to “property in which any foreign country or a national thereof has any interest,” 50 U.S.C.

§ 1702(a)(1), and the North Korea Act limits the Department’s power to “all transactions in prop-




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erty and interests in property of a person” on the SDN List, 22 U.S.C. § 9214(a), (c). The admin-

istrative record fails to show that the purported Tornado Cash “person” has any kind of interest in

property in the immutable smart contracts.

       1.      Under a plain reading of the statutes, to act with respect to property, the Department

must demonstrate that a foreign national has an interest in it. When “interest” is used in conjunc-

tion with “property,” its ordinary meaning is a “legal or equitable claim to or right in property.”

Interest, Black’s Law Dictionary (11th ed. online 2019); see also Centrifugal Casting Machine

Co. v. American Bank & Trust Co., 966 F.2d 1348, 1353 (10th Cir. 1992). Consistent with the

plain meaning, courts have recognized that the term “interest” also includes a beneficial interest.

See Holy Land Foundation v. Ashcroft, 333 F.3d 156, 163 (D.C. Cir. 2003), cert. denied, 540 U.S.

1218 (2004); Global Relief Foundation v. O’Neill, 315 F.3d 748, 753 (7th Cir. 2002), cert. denied,

540 U.S. 1003 (2003). The legal or equitable claim to property may be of “any nature whatsoever,

direct or indirect.” 31 C.F.R. §§ 510.313, 578.305.

       The Department does not cite any evidence suggesting that the purported Tornado Cash

person has any claim to the immutable smart contracts as a legal, equitable, or beneficial owner.

Rather, the Department argues that the Tornado Cash person has an “interest” in property because

(1) “Tornado Cash regarded smart contracts created on its behalf as having value” and (2) Tornado

Cash “derived value from smart contracts created on its behalf.” A.R. 60. But neither establishes

a property interest in the smart contracts.

       The first asserted interest—that the purported Tornado Cash person “regarded smart con-

tracts created on its behalf as having value,” A.R. 60—is not a legal, equitable, or beneficial inter-

est in property. The Department emphasizes that several individuals created the smart contracts

and “expend[ed] time and effort” to perform the trusted setup ceremony to make them immutable.




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See A.R. 60-61. But performing steps to relinquish control of a smart contract, or creating a smart

contract over which control is later relinquished, does not create a legal, equitable, or beneficial

interest. If anything, those steps would sever any such interest that might have existed.

       The Department also mentions the efforts of some individuals to advertise Tornado Cash’s

services, see A.R. 61-62, but those activities do not create, or prove the existence of, an interest in

property. Voluntarily advertising the features of a public space does not establish a legal, equita-

ble, or beneficial interest in that public space. A gift shop next to a national park that advertises

the park to increase traffic does not have an interest in property in that public space.

       The second asserted interest—that the Tornado Cash person “derived value from smart

contracts created on its behalf,” A.R. 60—fares no better. One version of that theory is that TORN

holders (including the Tornado Cash “person” itself) may profit if the smart contracts are fre-

quently used, because “the price of TORN tokens appear[s] to correlate with” the “success of the

smart contracts.” A.R. 61. Another version of that theory relies on the fact that some third-party

relayers—which provide an optional service to Tornado Cash users—pay a commission to the

Tornado Cash DAO in exchange for being listed on the relayer registry. A.R. 63-64. According

to the Department, the more users of the Tornado Cash protocol, the greater the use of third-party

relayers, and the larger the potential commissions back to the DAO. A.R. 64.

       Under either version, the ways in which the Tornado Cash “person” purportedly “derived

value from” the immutable smart contracts do not involve any legal, equitable, or beneficial inter-

est in property in the immutable smart contracts. A.R. 60. The administrative record does not

explain how holding TORN conveys a legal, equitable, or beneficial interest in property in the

immutable smart contracts or the third-party relayers. At most, the administrative record suggests

TORN holders were well-positioned to profit from increased use of the immutable smart contracts.




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But being well-positioned to profit from others using something does not create or prove a property

interest in that thing. The power company may be well positioned to profit from hot summer

weather that causes increased use of air conditioning, but it does not own the weather.

       2.      No court has ever read the term “interest” in IEEPA or the North Korea Act as

broadly as the Department does here. In Global Relief Foundation, all parties appeared to agree

that foreign nationals had a beneficial interest in the assets of a domestic entity, and the Seventh

Circuit simply rejected the entity’s argument that a beneficial interest was inadequate. See 315

F.3d at 753. And in Holy Land Foundation, the D.C. Circuit concluded that Hamas had an interest

in the assets of a domestic entity because there was evidence that it “acted on behalf of Hamas,”

“operated as a fundraiser for Hamas in the United States,” and received funds from “Hamas offi-

cials.” 333 F.3d at 161, 163. The administrative record is devoid of any evidence that such a

relationship existed here.

       If the Department’s interpretation of “interest” were correct, the term—and the Depart-

ment’s sanctions authority—would be nearly limitless. For example, the distance Americans com-

mute for work and the speed at which they drive affects the demand for oil, and higher demand for

oil creates an economic benefit for certain sanctioned Russian firms. Under the Department’s

theory, that fact would be enough for the Department to designate Americans’ cars as property in

which the Russian firms have an interest—a bizarre result for a statute “intended to limit the Pres-

ident’s emergency power in peacetime.” Dames & Moore v. Regan, 453 U.S. 654, 672-673 (1981)

(emphasis added).

                                 *       *       *       *      *

       The undisputed facts in the administrative record show that the Department’s prohibition

on interactions with the smart contracts at the core of Tornado Cash exceeds the agency’s statutory




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authority. The Department has not validly identified a foreign “national” or “person”; the immu-

table smart contracts are not “property”; and the purported Tornado Cash person has no “interest”

in the immutable smart contracts. To the extent the Court finds any of those statutory terms am-

biguous, they should be interpreted to avoid the serious First Amendment concerns with the des-

ignation that are discussed in more detail below. See Mexican Gulf Fishing Co. v. United States

Department of Commerce, 60 F.4th 956, 971 (5th Cir. 2023); pp. 22-24, infra. For each of those

reasons, the Court should grant summary judgment to Plaintiffs on Count 1 of their Amended

Complaint, hold the designation unlawful, and set it aside under the APA.

II.     THE DEPARTMENT’S ACTION VIOLATES THE FREE SPEECH CLAUSE OF
        THE FIRST AMENDMENT

        There is no dispute that the Department’s designation purports to prohibit Plaintiffs and

thousands of other law-abiding American citizens from interacting with open-source code to en-

gage in a wide range of speech protected by the First Amendment. The Department’s designation

fails constitutional scrutiny for two reasons: (1) it is not narrowly tailored and (2) it is overbroad.

Summary judgment is thus warranted on Count 2 of the Amended Complaint.

        A.      The Department’s Action Is Not Narrowly Tailored To Address A Compelling
                Interest

        The Department’s action prohibits conduct, but it has a very real effect on speech. A pro-

hibition on “conduct with incidental effects on speech” is permissible under the First Amendment

only if “it is narrowly tailored to serve [a] substantial governmental interest[].” Doe I v. Landry,

909 F.3d 99, 108 (5th Cir. 2018). Although the Department has a substantial interest in preventing

money laundering and other illegal activity, a total ban on an Internet privacy protocol is not nar-

rowly tailored to that interest.

        The administrative record demonstrates the inadequacy of the ban’s tailoring. It is indis-

putable that money laundering and other illicit activity account for only a small fraction of the uses


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of Tornado Cash and crypto mixers. The Department concedes that more than three-quarters of

funds sent to mixers—a category in which the Department includes Tornado Cash—are lawful.

A.R. 29; see also A.R. 578, 934, 936-940. More generally, money laundering accounted for only

“0.05% of all cryptocurrency transaction volume in 2021.” A.R. 1623; see also A.R. 476 (ac-

knowledging that “[m]ost virtual currency activity is licit”). In the 2,000-page record, the Depart-

ment cites just three illicit uses of the Tornado Cash privacy protocol. See A.R. 68-77.

       The Department’s total prohibition is thus grossly disproportionate. The Department has

the authority to impose sanctions on individual money launderers and crypto thieves. Indeed, the

Department exercised that authority to sanction the Lazarus Group, a hacking ring that is believed

to be behind some of the theft cited in the designation of Tornado Cash. See OFAC, Treasury

Sanctions North Korean State-Sponsored Malicious Cyber Groups (Sept. 13, 2019) <ti-

nyurl.com/Lazarus-Group>; A.R. 68-73. To ban all uses of Tornado Cash is akin to banning the

printing press because a tiny fraction of users might publish instructions on how to build a nuclear

weapon. Far from being narrowly tailored, the Department’s action is not tailored at all.

       B.      The Department’s Action Is Unconstitutionally Overbroad

       The Department’s designation should also be set aside because it has a “substantial number

of unconstitutional applications” relative to its “plainly legitimate sweep.” Seals v. McBee, 898

F.3d 587, 593 (5th Cir. 2018) (citation omitted). In addition to being insufficiently tailored, the

Department’s action is also unconstitutionally overbroad because “the threat of enforcement . . .

deters people from engaging in constitutionally protected speech, inhibiting the free exchange of

ideas.” United States v. Williams, 553 U.S. 285, 292 (2008).

       Thousands of law-abiding American citizens have been prohibited from using the Tornado

Cash privacy protocol to engage in socially valuable speech. Tornado Cash allowed Americans




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such as Mr. Almeida to make donations to support important political and social causes. See Al-

meida Decl. ¶¶ 14-16; see also McCutcheon v. Federal Election Commission, 572 U.S. 185 (2014).

Without the privacy afforded by Tornado Cash, users such as Mr. Almeida are hindered in ex-

pressing their views on the Russian invasion by sending money to the Ukrainian government. See

Citizens United v. Federal Election Commission, 558 U.S. 310, 351 (2010); Zimmerman v. City

of Austin, Texas, 881 F.3d 378, 395 (5th Cir.), cert. denied, 139 S. Ct. 639 (2018).

       In addition, by using the Tornado Cash open-source code, Americans such as Mr. Fisher

and Mr. Vitale have developed code to facilitate improved uses of the Ethereum network. See

Fisher Decl. ¶ 15; Vitale Decl. ¶ 14. Although the Fifth Circuit has not yet resolved the question,

other courts of appeals have correctly held that code is protected speech. See Universal City Stu-

dios, Inc. v. Corley, 273 F.3d 429, 447 (2d Cir. 2001); Junger v. Daley, 209 F.3d 481, 485 (6th

Cir. 2000).

       The effect of the designation is not speculative. For example, an applied cryptography

professor at the Johns Hopkins Information Security Institute observed that the designation chilled

“the right to publish . . . source code.” A.R. 405. And users such as Mr. Almeida may not be

comfortable making donations to support the Ukrainian government without the ability to use Tor-

nado Cash to protect their identity. See Almeida Decl. ¶¶ 14-16. The Department’s designation

thus has a real risk of prohibiting a substantial amount of protected speech relative to any legitimate

sweep of the designation. See Williams, 553 U.S. at 292. Accordingly, Plaintiffs are entitled to

summary judgment on Count 2 as well.




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                                       CONCLUSION

       Plaintiffs’ motion for partial summary judgment on Counts 1 and 2 should be granted, the

designation should be held unlawful and set aside, and Defendants should be permanently enjoined

from enforcing it.

Dated: April 5, 2023                            /s/ Kannon K. Shanmugam

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